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7
                            UNITED STATES DISTRICT COURT
8                       NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
9


10

       United States ofAmerica,                          No. CR 18-0299-03 SI
11

                    Plaintiff,                           DEFENDANT'S SENTENCING MEMORANDUM
12
             vs.

13                                                       Date: January 13, 2020
       JOSE ALONZO HERRERA                               Time: 11:00 a.m.
14
                    Defendant.
15


16
        1.   Introduction

17
             Jose Alonzo Herrera pleaded guilty to Counts 1 and 2 of the Superceding Indictment on July
18
     12, 2019 pursuant to a written Plea Agreement pursuant to Rule 11(c)(1)(A) and 11(c)(1)(B) of the
19
     Federal Rules of Criminal Procedure. Defendant Herrera agreed that a reasonable sentence under the
20
     United States Sentencing Guidelines and 18 U.S.C. §3553(a) is 60 months of imprisonment, a 4-year
21
     term of supervision, a $200 special assessment and a fine to be determined by the Court.
22

             Defendant Herrera agrees with the Presentence Report's Guidelines calculation and the
23

     Advisory Guidelines range. Defendant Herrera further agrees with the PSR that he is eligible for the
24


25
     Safety Valve (under the new First Step Act), and that the factors under §3553(a) merit a downward

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                                                        -1 -
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OQ
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